Case 1:19-cv-20502-JEM Document 12 Entered on FLSD Docket 11/13/2018 Page 1 of 5



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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


   JASON KERZNOWSKI, Individually and on Case No. 2:18-cv-13834
   Behalf of All Others Similarly Situated,

                                Plaintiff,

   v.

    OPKO HEALTH, INC., PHILLIP FROST,
    ADAM LOGAL, AND JUAN F.
    RODRIGUEZ,                                    Hon. Stanley R. Chesler
                                Defendants.       Magistrate Judge Cathy L. Waldor


         MOTION OF THE OPKO INVESTOR GROUP FOR APPOINTMENT AS
          LEAD PLAINTIFF AND APPROVAL OF SELECTION OF COUNSEL
Case 1:19-cv-20502-JEM Document 12 Entered on FLSD Docket 11/13/2018 Page 2 of 5



  TO: ALL PARTIES AND THEIR COUNSEL OF RECORD

         PLEASE TAKE NOTICE that on November 13, 2018, or as soon thereafter as counsel

  may be heard, Richard Cardilli, Anthony T. DeRosa, Tawei Ho, Charles Saulson, and Connie

  Wendt (the “OPKO Investor Group” or “Movant”), by and through their counsel, shall move

  before the Honorable Stanley R. Chesler, United States District Court, District for New Jersey, for

  an Order: (1) appointing Movant as the Lead Plaintiff in the above-captioned action pursuant to

  Section 21D(a)(3)(B) of the Securities Exchange Act of 1934, 15 U.S.C. §78u-4(a)(3)(B), as

  amended by Section 101(b) of the Private Securities Litigation Reform Act of 1995 (“PSLRA”);

  (2) approving Movant’s selection of the law firm of Levi & Korsinsky, LLP (“Levi & Korsinsky”)

  and Bragar Eagel & Squire, P.C. (“Bragar”), as Co-Lead Counsel for the Class; and (3) granting

  such other and further relief as the Court may deem just and proper.

         Movant makes this Motion on the belief that it is the most “adequate plaintiff” as defined

  in the PSLRA because: (1) it has incurred the largest financial interest in the relief sought by the

  Class as a result of the OPKO Investor Group’s purchases of OPKO Health, Inc. securities during

  the Class Period; and (2) it satisfies the typicality and adequacy requirements of Federal Rule of

  Civil Procedure 23.

         Movant further requests that the Court approve Movant’s selection of Levi & Korsinsky

  and Bragar as Co-Lead Counsel for the Class. Levi & Korsinsky and Bragar have actively

  investigated the allegations raised against Defendants. Further, Levi & Korsinsky and Bragar are

  nationally-recognized law firms with significant class action, fraud, and complex litigation

  experience, with the resources to effectively and properly pursue this Action.

         The facts and law supporting this Motion are fully set forth in the accompanying

  Memorandum in Support of the Motion of the OPKO Investor Group for Appointment as Lead




                                                  2
Case 1:19-cv-20502-JEM Document 12 Entered on FLSD Docket 11/13/2018 Page 3 of 5




  Plaintiff and Approval of Selection of Counsel and the Declaration of Eduard Korsinsky in Support

  of the Motion of the OPKO Investor Group for Appointment as Lead Plaintiff and Approval of

  Selection of Counsel.

         WHEREFORE, for all of the reasons set forth herein and in the Memorandum in Support

  of the Motion of the OPKO Investor Group for Appointment as Lead Plaintiff and Approval of

  Selection of Counsel and the Declaration of Eduard Korsinsky in Support of the Motion of the

  OPKO Investor Group for Appointment as Lead Plaintiff and Approval of Selection of Counsel,

  submitted herewith, Movant respectfully request that this Court: (1) appoint the OPKO Investor

  Group as Lead Plaintiff; (2) approve Levi & Korsinsky and Bragar as Co-Lead Counsel for the

  Class; and (3) grant such other and further relief as the Court may deem just and proper.


   Dated: November 13, 2018                       Respectfully Submitted,

                                                  LEVI & KORSINSKY LLP

                                                  /s/ Eduard Korsinsky
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                                                          - and -

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                                                          - and -




                                                  3
Case 1:19-cv-20502-JEM Document 12 Entered on FLSD Docket 11/13/2018 Page 4 of 5



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                                       Co-Counsel for Movant and [Proposed] Co-
                                       Lead Counsel for the Class




                                       4
Case 1:19-cv-20502-JEM Document 12 Entered on FLSD Docket 11/13/2018 Page 5 of 5



                                   CERTIFICATE OF SERVICE

         I hereby certify that on this 13th day of November, 2018, true and correct copies of the

  Motion of the OPKO Investor Group for Appointment as Lead Plaintiff and Approval of Selection

  of Counsel; the Memorandum in Support of the Motion of the OPKO Investor Group for

  Appointment as Lead Plaintiff and Approval of Selection of Counsel; the Declaration of Eduard

  Korsinsky in Support of the Motion of the OPKO Investor Group for Appointment as Lead

  Plaintiff and Approval of Selection of Counsel (with Exhibits A-F); and the [Proposed] Order

  Appointing Lead Plaintiff and Approving Lead Plaintiff’s Choice of Counsel were served via this

  Court’s ECF system to all counsel of record as identified on the Notice of Electronic Filing (NEF),

  and electronically sent to those indicated as non-registered participants.


                                                                /s/ Eduard Korsinsky
                                                                Eduard Korsinsky




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